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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

YVONNE REED,                                             §
    Plaintiff,                                           §
                                                         §
                                                         §
V.                                                       §       CIVIL NO. 4:24-CV-597-P
                                                         §
CLEIGH RYAN VOORHEES, et al.                             §
     Defendants.                                         §

  FINDINGS, CONCLUSIONS, AND RECOMMENDATION REGARDING PLAINTIFF’S
                          AMENDED COMPLAINT

        On June 26, 2024, pro se Plaintiff filed a Complaint against Defendants. Thereafter, in an

order dated June 28, 2024, Plaintiff was granted permission to proceed In Forma Pauperis (“IFP”).

On July 2, 2024, the Court entered an order which noted that “Plaintiff’s complaint does not comply

with the applicable pleading standards, and does not state a claim upon which relief can be granted.

Specifically, Plaintiff brings her cause of action alleging discrimination under Title VIII of the Civil

Rights Act of 1968 but she does not allege any discrimination.” (ECF No. 6). In that same order, the

Court ordered Plaintiff to file an “amended complaint that complies with the [Federal Rules of Civil

Procedure (“Rules”)] and includes a plain statement of all her claims against all Defendants” no later

than July 15, 2024. (Id.). Plaintiff failed to file an Amended Complaint by the Court ordered deadline.

On July 16, 2024, the Court entered an order giving Plaintiff fourteen more days to file her Amended

Complaint. (ECF No. 8). Plaintiff filed her “Second Amended Complaint” on July 19, 2024. (ECF

No. 9). As best as the Court can tell, Plaintiff’s Amended Complaint is identical to her Original

Complaint. (See ECF Nos. 1, 9).

        Section 1915 of Title 28 of the United States Code sets forth provisions for claimants

proceeding IFP. Pursuant to 28 U.S.C. § 1915(e)(2), the Court shall, sua sponte, dismiss a case

proceeding IFP if the court determines that, inter alia, it is frivolous or fails to state a claim on which

relief may be granted. 28 U.S.C. § 1915(e)(2)(B). A complaint is frivolous if it “lacks an arguable
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basis either in law of fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989). A complaint fails to state

a claim upon which relief can be granted when, assuming that all the allegations in the complaint are

true even if doubtful in fact, such allegations fail to raise a right to relief about the speculative level.

See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal quotation marks and citations

omitted). A complaint must “‘give the defendant fair notice of what the . . . claim is and the grounds

upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (quoting Bell Atl. Corp., 550 U.S. at 550).

        In this case, the Court has given Plaintiff an opportunity to file an amended complaint that

complies with the Rules and states a claim upon which relief can be granted. Plaintiff, however, has

failed to do so. Just as with her Original Complaint, Plaintiff’s Amended Complaint alleges race and

age discrimination under “Title VIII of the 1968 Civil Rights Act.” (ECF No. 9). However, despite

the Court’s notice regarding this issue, Plaintiff fails to plead any facts which could give rise to the

inference that she was discriminated against based on her age or race. (Id.). Consequently, Plaintiff

has failed to state a claim upon which relief can be granted and her claims should be DISMISSED.

        Courts ordinarily err in dismissing pro se complaints for failure to state a claim without first

extending an opportunity to amend the pleadings. Bazrowx v. Scott, 136 F.3d 1053, 1054 (5th Cir.

1998). However, in this case, Plaintiff has already been given an opportunity to file an amended

complaint that complies with the Rules and states a valid claim. Plaintiff’s Amended Complaint, which

is the live pleading before the Court, does not allege a viable legal claim or cause of action. Thus, the

Court finds and concludes that Plaintiff has asserted her best case and the granting of any additional

leave for Plaintiff to amend her claims would be futile.

                         NOTICE OF RIGHT TO OBJECT TO PROPOSED
                      FINDINGS, CONCLUSIONS AND RECOMMENDATION
                        AND CONSEQUENCES OF FAILURE TO OBJECT

        Under 28 U.S.C. § 636(b)(1), each party to this action has the right to serve and file specific

written objections in the United States District Court to the United States Magistrate Judge’s proposed

findings, conclusions and recommendation within fourteen (14) days after the party has been served

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with a copy of this document.       The United States District Judge need only make a de novo

determination of those portions of the United States Magistrate Judge’s proposed findings, conclusions

and recommendation to which specific objection is timely made. See 28 U.S.C. § 636(b)(1). Failure

to file, by the date stated above, a specific written objection to a proposed factual finding or legal

conclusion will bar a party, except upon grounds of plain error or manifest injustice, from attacking on

appeal any such proposed factual findings and legal conclusions accepted by the United States District

Judge. See Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc),

superseded by statute on other grounds, 28 U.S.C. § 636(b)(1) (extending time to file objections from

ten to fourteen days).

                                               ORDER

        Under 28 U.S.C. § 636, it is hereby ORDERED that each party is granted until August 2,

2024, to serve and file written objections to the United States Magistrate Judge’s proposed findings,

conclusions and recommendation. It is further ORDERED that if objections are filed and the opposing

party chooses to file a response, the response shall be filed within seven (7) days of the filing date of

the objections.

        It is further ORDERED that the above-styled and numbered action, previously referred to the

United States Magistrate Judge for findings, conclusions and recommendation, be and hereby is

returned to the docket of the United States District Judge.

        SIGNED July 19, 2024.

                                                        ____________________________________
                                                        JEFFREY L. CURETON
                                                        UNITED STATES MAGISTRATE JUDGE




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